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                       IN THE UNITED STATES DISTRICT COURT


                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division




  MAURICE KEVIN SMITH,

                        Debtor-Appellant,
                                                             Civil No. l:18-cv-1181
                                                             Hon. Liam O'Grady
 JOHN P.FITZGERALD,III, ACTING UNITED
 STATES TRUSTEE,

                        Trustee-Appellee.


                             MEMORANDUM OPINION & ORDER

       This matter comes before the Court on appeal from the bankruptcy court's denial of Mr.

Smith's motion to reopen his bankruptcy case, which was closed without discharge after Mr.

Smith failed to timely file a Certificate of Completion ofFinancial Management Course. The

issue on appeal is: "Whether the bankruptcy court abused its discretion by denying Mr. Smith's

motion to reopen his case, seven years after it was closed, so that he could file an untimely

certificate of completion of a required financial management course and obtain a discharge of his
debts." Appellee Br. at 2.

                                       I. BACKGROUND

       To obtain a discharge through bankruptcy, debtors are required to complete a personal
financial management course and file a certification ofcompletion ofthe course with the

bankruptcy court. 11 U.S.C. § 727(a)(l 1); Fed. R. Brankr. P. 4004(c)(1)(H). Mr. Smith was
given notice ofthis requirement on October 22,2010. UST 000047^8. On April 13,2011, Mr.
Smith's bankruptcy case was closed without discharge because Mr. Smith had failed to timely
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